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U.S. Department of Justice

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December 22, 2017

Honorable Marvin J. Garbis
United States District Judge
United States Courtliouse
101 West Lornbard Street
Baltimore, Maryland 21201

Re: United States v. Harold T. Martin. 111. MJG-l 7-0069
Dear Judge Garbis:

In light of the defendant’s decision to plead guilty to Count One of the indictment filed in
the above-referenced case without the benefit of a plea agreement, this letter sets forth, as
applicable, the penalties for the offense to which the defendant seeks to plead guiltyl lt also
addresses a number of matters that the government submits will be relevant to the Court’s Rule l 1
colloquy, including an agreement between the parties regarding deferred sentencing

Offense of Conviction

l. Count One of the indictment charges the defendant with Willful Retention of
National Defense lnformation, in violation of Title 18, United States Code, Section 793(e).

Elements of the Offense

2. The elements of the offense to which the government has been informed that the
defendant intends to plead guilty, and which the government would prove beyond a reasonable
doubt if the case went to trial, are as follows:

a. The defendant had unauthorized possession of Document A listed in the indictment
b. Document A contained information that related to the national defense; and

c. The defendant willfully retained Document A and failed to deliver it to the officer
or employee of the United States entitled to receive thein.

Penalties

3. The maximum penalty for the offense charged in Count One is not more than ten
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(10) years’ imprisonment, followed by a term of supervised release of not more than three (3) years
and a fine of up to $250,000.

4. In addition, the defendant must pay $100 as a special assessment pursuant to Title
18, United States Code, Section 3013, Which will be due and should be paid at or before the time
of sentencing The Court may also order the defendant to make restitution pursuant to Title 18,
United States Code, Sections 3663, 3663A, and 3664. If a fine or restitution is imposed, it shall
be payable immediately, unless, pursuant to Title 18, United States Code, Section 3572(d), the
Court orders otherwise. Further, the government respectfully submits that the Court should advise
the defendant that if he serves a term of imprisonment, is released on supervised release, and then
violates the conditions of supervised release imposed by the Court, his supervised release could be
revoked_even on the last day of the term_and he could be returned to custody to serve another
period of incarceration and a new term of supervised release. The government also submits that
the defendant should be advised that the Bureau of Prisons has sole discretion in designating the
institution at which he will serve any term of imprisonment imposed.

Waiver of Rights

5. The government submits that by pleading guilty, the defendant surrenders certain
rights as outlined below:

a. If the defendant had persisted in a plea of not guilty, he would have had the right to
a speedy jury trial With the close assistance of competent counsel. That trial could be conducted
by a judge, Without a jury, if the defendant, this Off`ice, and the Court all agreed.

b. If the defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community Counsel and the defendant Would have the opportunity
to challenge prospective jurors who demonstrated bias or who Were otherwise unqualiHed, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
Would have to agree unanimously before he could be found guilty of any count. The jury would
be instructed that he was presumed to be innocent, and that presumption could be overcome only
by proof beyond a reasonable doubt.

c. If the defendant went to trial, the government would have the burden of proving
him guilty beyond a reasonable doubt. The defendant would have the right to confront and cross-
examine the government’s witnesses. The defendant would not have to present any defense
witnesses or evidence whatsoever. lf the defendant wanted to ca11 witnesses, however, he would
have the subpoena power of the Court to compel the Witnesses to attend.

d. The defendant would have the right to testify if he so chose, and he Would have the
right to refuse to testify. If the defendant chose not to testify, the Court would instruct the jury
that they could not draw any adverse inference from his decision not to testify,

e. If the defendant were found guilty after a trial, he would have the right to appeal
the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to see if any
errors Were committed which would require a new trial or dismissal of the charges against him.
By pleading guilty, the defendant knowingly gives up the right to appeal the verdict and the Court’s

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decisions. A plea of guilty and the ensuing conviction comprehend all of the factual and legal
elements necessary to sustain a binding, final judgment of guilt and therefore, by pleading guilty,
the Defendant waives all non-jurisdictional defects in the proceedings conducted prior to entry of
the plea.

f. By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant may have to answer the Court’s questions both about the rights he is giving
up and about the facts of his case as well as his complete satisfaction with the advice and counsel
of his attomeys.

g. If the Court accepts the defendant’s plea of guilty as to Count One, there will be no
further trial or proceeding of any kind with respect to Count One, and the Court will find him
guilty of Count One. The remaining 19 counts of the indictment will still be pending against the
defendant and should be set for trial in the ordinary course.

h. By pleading guilty, the defendant will also be giving up certain valuable civil rights
and also may be subject to deportation or other loss of immigration status. If he is not a citizen of
the United States, pleading guilty may have consequences with respect to his immigration status.
Under federal law, conviction for a broad range of crimes can lead to adverse immigration
consequences, including automatic removal from the United States. Removal and other
immigration consequences are the subject of a separate proceeding, however, and the defendant
understands that no one, including defense counsel or the Court, can predict with certainty the
effect of a conviction on immigration status.

Advisory Sentencing Guidelines Apply

6. The Court will determine a sentencing guidelines range for this case (henceforth
the “advisory guidelines range”) pursuant to the Sentencing Reform Act of 1984 at Title 18, United
States Code, Sections 3551-3742 (excepting Title 18, United States Code, Sections 3553(b)(l) and
3742(e)) and Title 28, United States Code, Sections 991 through 998. The Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

lactual Statement and A(_lvisorv Guidelines Application

7. Pursuant to his guilty plea, the defendant has no assurance as to the guidelines
applicable to the case. At trial, the government would prove beyond a reasonable doubt the factual
allegations contained in Attachment A, and Will provide the Court with substantiation for the
following applicable sentencing guidelines factors:

a. Base offense Level: The base offense level is twenty-nine (29) pursuant to
U.S.S.G. § 2M3.3(a)(l) because the defendant willfully retained national defense information that
was classified at the TOP SECRET//SCI level.

b. Abuse of Position of Public Trust: Pursuant to U.S.S.G. § 3Bl.3, there is
a two (2)-level increase because the defendant abused a position of public trust in a manner that
significantly facilitated the commission and concealment of the offense.

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c. Potential Grouping Adjustment: Pursuant to U.S.S.G. § 3Dl .2 , the other
19 counts of the Indictment will not group With the conviction for Count One. Thus, there may be
an increase of as many as five (5) levels to the highest offense level, pursuant to U.S.S.G. §3D1.4.

d. Combined Adjusted Offense Level: Thus, the combined adjusted offense
level is expected to be between thirty-one (31) and thirty-six (36), depending on any grouping
adjustment

8. No Reduction for Acceptance of Responsibility: The government opposes any
reduction in the defendant’s combined adjusted offense level, pursuant to U.S.S.G. § 3El.1,
because by electing to enter a plea of guilty as to only one of the pending counts, without any
agreement as to disposition of the other counts, the defendant has failed to make full recognition
and affirmative acceptance of personal responsibility for his overall criminal conduct.

9. Thus, the final offense level will be between thirty-one (31) and thirty-six (36).
Other Pertinent Matters

lO. Sentencing to be Deferred Until Disposition of A]l Pending Charges: The
government and the defendant agree that sentencing on Count One should not occur until all
pending counts are resolved. The governrnent’s non-objection to the Court accepting the
defendant’s partial plea is expressly conditioned upon the defendant’s agreement to defer
sentencing on Count One until all pending counts are resolved.

ll. Admission of Guilty Plea and Related Statements at Trial: The government
respectfully submits that it will be entitled to use the defendant’s plea of guilty to Count One and
any related statements in its case-in-chief during trial on the remaining counts of the indictment
Rule 410 of the Federal Rules of Evidence, by its express terms, will not preclude the use at trial
of the guilty plea and statements made during the proceeding on the plea under Rule ll of the
Federal Rules of Criminal Procedure.

12. Effect on Evidence at Trial: The government respectfully submits that the
defendant’s guilty plea does not preclude the government’s use at the defendant’s trial on the
remaining 19 counts of the indictment any evidence that would otherwise have been admissible at
trial for the entire indictment,

13. Potential for Consecutive Sentencing: The government respectfully submits that,
should the defendant be convicted on any other pending counts of the indictment, the Court shall
be entitled to impose either a consecutive or a concurrent sentence as to each count of conviction,
in whole or in part.

14. No Limitation on Information Presented for Sentencing: The government
respectfully submits that the parties reserve the right to bring to the Court’s attention at the time
of sentencing, and the Court will be entitled to consider, all relevant information concerning the
defendant’s background, character, and conduct, as well as the impact of his conduct on the U.S.
Government and its intelligence agencies, including but not limited to the specific harms caused
not only by the unlawful retention of the documents referenced in the indictment, but also by the

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government’s expenditure and diversion of resources to investigate the totality of information the
defendant retained without authorization

15. Lifetime Obligation to Protect Classified and National Defense Information:
Pursuant to Title 18, United States Code, Sections 793, 794, 798, as well as other statutes and
multiple nondisclosure agreements between the United States Government and the defendant, the
defendant has a continuing legal obligation to refrain from the unauthorized oral or written
disclosure of classified information, or information relating to the national defense. Under the
laws of the United States and his agreements with the United States govemment, the defendant
must not disclose, communicate, transmit, or disseminate in any Way any classified information,
or information relating to the national defense. The law absolutely forbids him from disclosing,
communicating transmitting, or disseminating any classified information, or information relating
to the national defense, without regard to where, when, or how he learned of or came into
possession of the classified information, or information relating to the national defense. The
defendant is absolutely prohibited from disclosing, communicating, transmitting, or disseminating
any classified information, or information relating to the national defense, even if that information
can be found in a book, on the Internet, or in any other source whether publicly available or not.
Merely because classified information, or information relating to the national defense, may have
appeared publicly does not render that information unclassified. Under the law and his
nondisclosure agreements, the defendant is prohibited from confirming or expanding upon
classification status, technical accuracy, or potential uses for any classified information, including
national defense information, that may appear in any public or non-public source.

16. Pre-Publication Review: Pursuant to his multiple nondisclosure agreements with
the United States Government, the defendant shall not collaborate on, consult about, or otherwise
assist or be involved with any communication of information relating to classified subject areas to
which he was exposed while working as a contractor for the United States Government with any
other person, without first obtaining the express written permission of all relevant agencies or
components of the United States Government. This prohibition includes, but is not limited to, any
interviews of the defendant, or anyone representing or acting on his behalf, by the media or others.
This prohibition also includes any documents, computer code or other information created by the
defendant in whole or in part, and any other papers, books, writings, electronic communications,
articles, films or other productions relating to him or his work as a contractor for the United States
Government, or the events leading to his conviction(s).

17. Use and Disclosure of Unclassified Protected Information and Materials:
Pursuant to the Protective Order entered by the Court, Dkt. #50, the materials designated
“protected” by the Government may only be used for purposes of the current litigation, and may
only be disclosed to non-parties to the litigation as needed for the litigation, and only if the non-
party signs the order of acknowledgement attached to the Court’s order.

18. Disposition of Classified Information: Pursuant to the Protective Order
Pertaining to Classified Information entered by the Court, Dkt. #55, all classified documents and
information to which the defense has been given access in this case remain the property of the
United States. Upon demand of the Classified Inforrnation Security Officer (CISO) all persons
shall return to the CISO all classified information in their possession obtained through discovery
from the government in this case, or for which they are responsible because of access to classified

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information The notes, summaries and other documents prepared by the defense that do or may
contain classified information shall remain at all times in the custody of the CISO for the duration
of the case. At the conclusion of the case, all such notes, summaries, and other documents are to
be destroyed by the CISO in the presence of counsel for the defendant if they choose to be present.

19. Disposition of Firearms: As a result of his guilty plea, the defendant will be
prohibited from possessing firearms pursuant to Title 18, United States Code, Section 922(g)(l).
As such, the government has agreed to return the firearms seized by investigators on August 27,
2016, to a person who is not prohibited from possessing firearms

20. Forfeiture: As a result of his guilty plea, the defendant’s interest in all property,
real or personal, which constitutes or is derived from proceeds traceable to the offense shall be
forfeited to the United States of America. This includes all digital media and devices seized by
investigators on August 27 and 31, 2016.

21. Waiver of Appeal: By pleading guilty, the defendant knowingly waives all rights,
pursuant to 28 U.S.C. § 1291 or otherwise, to appeal his conviction.

22. No Plea Agreement: There is no plea agreement in this case, and there are no other
agreements, promises, undertakings, or understandings between the defendant and this Office.

Very truly yours,

Stephen M. Schenning
Acting United States Attomey

/s/
Harvey E. Eisenberg
Assistant United States Attomey
Chief, National Security Section

/s/
Zachary A. Myers
Assistant United States Attomey

/s/
Nicolas A. Mitchell
Assistant United States Attomey

/s/
David Aaron
Trial Attomey
U.S. Department of Justice
National Security Division

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ATTACHMENT A
GOVERNMENT’S FACTUAL STATEMENT

If this case had proceeded to trial on Count One of the Indictment the government would
have proven the following beyond a reasonable doubt T hese facts do not encompass all of the
evidence that would be presented at trial as to this Count nor does it encompass all of the evidence
that will be presented at trial on the 19 pending counts.

The Defendant’s Background and Emgloyment

The Defendant, Harold T. Martin, III, 52, is a former resident of Glen Burnie, Maryland.
From July 1988 through .luly 1992, Martin served on active duty in the United States Navy. Martin
held a SECRET security clearance in connection with his active duty service. From August 1992
through March 2000, Martin served in the United States Naval Reser've. In August 1994, Martin’s
security clearance in connection with his Navy service was upgraded to TOP SECRET.

Beginning in December 1993, and continuing until August 29, 2016, Martin was employed
by at least seven different private companies and was assigned as a contractor to components of
the U.S. Department of Defense (DoD) and the United States Intelligence Community (USIC)
(collectively, the “govemment agencies”). Martin was required to receive and maintain a security
clearance in order to work at each of the government agencies to which he was assigned As a
private contractor, Martin held security clearances up to TOP SECRET//SENSITIVE
COMPARTMENTED INFORMATION (SCI) at various times.

The Defendant’s Access to Classified Information

Martin’s access to classified information was based in part upon his agreement to follow
the laws, regulations, and government policies regarding the handling, marking, transportation,
and storage of classified materials. Over his many years holding a security clearance, Martin signed
numerous agreements with the U.S. Govemment agreeing to abide by these conditions Martin
regularly received training regarding classified information, including the definitions of classified
information, the levels of classification, and SCI, as well as the proper handling, marking,
transportation, and storage of classified materials Martin received training on his duty to protect
classified materials from unauthorized disclosure, which included complying with handling,
transportation, and storage requirements Martin knew that unauthorized removal of classified
materials and transportation and storage of those materials in unauthorized locations risked
disclosure of those materials, and therefore could endanger the national security of the United
States and the safety of its citizens.

In particular, Martin was advised repeatedly that unauthorized disclosure of TOP SECRET
information reasonably could be expected to cause exceptionally grave damage to the national
security of the United States, and that violation of rules governing the handling of classified
information could result in criminal prosecution Training presentations and materials specifically
warned Martin that he was prohibited from retaining classified information at his home or in his
Vehicle.

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Classified information relating to the national defense is closely held and maintained under
specific security conditions Because of his work responsibilities and security clearance, Martin
was able to access classified national defense information in secure locations and computer
systems. Beginning in approximately the late 1990s, Martin stole fi‘om such secure locations
classified paper and digital documents containing information relating to the national defense and
retained those documents in his residence (including surrounding property), on his person, and in
his vehicle.

The Defer_rdant’s Willful Ur_rlawfr_rl Retention of Nat_ional Defense Information

Beginning in the late 1990s and continuing through August 31, 2016, Martin possessed in
his residence and vehicle, both located in Glen Burnie, Maryland, a vast quantity of documents
and other information bearing standard classification markings, in both hard copy and digital form
(stored on multiple electronic storage media), that he stole from his workplaces.

On August 27, 2016, during the execution of search warrants at his home, Martin Was not
in custody, and voluntarily agreed to be interviewed by investigators During the interview, Martin
at first denied, and later, when confronted with specific documents, admitted he took documents
and digital files fi‘om his workplaces to his residence and vehicle that he knew were classified
Martin stated that he knew he did not have authorization to retain the materials at his residence or
in his vehicle. Martin stated that he knew what he had done was Wrong and that he should not have
done it because he knew it was unauthorized

The documents and digital files Martin stole from his workplaces and retained without
authorization at his residence spanned two decades, related to many subject matter areas, and
included information from many U.S. government agencies. The large volume of hard-copy and
digital materials included information from the National Security Agency (NSA). In particular, the
classified documents Martin possessed included Document A, a March 2014 NSA leadership
briefing outlining the development and future plans for a specific NSA organization

Document A is classified and closely held by the government The information contained
Within this document related to United States military and naval establishments and related
activities of national preparedness, as Well as the defense of the United States against its enemies.
Possession of this information outside of authorized secure facilities and channels is potentially
damaging to the United States and would be highly useful to its enemies.

Martin was aware that the documents he retained were classified and contained national
defense information and that retaining them in his residence and vehicle put the information and
national security at risk. Martin’s residence and vehicle were not locations authorized to store
classified information Martin knew that they were not authorized locations for such storage and,
having unauthorized possession of the document listed above relating to the national defense,
willfully retained the document and failed to deliver it to an officer or employee of the United
States entitled to receive it.

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